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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW HAMPSHIRE
__________________________________________
                                           )
MILFORD-BENNINGTON RAILROAD CO.,           )
INC. and PETER LEISHMAN                    )
                                           )
                  Plaintiffs,              )
v.                                         )
                                           )    Removed from Merrimack
                                           )    County Superior Court
PAN AM RAILWAYS, INC.,                     )    Docket No. 10-CV-00369
BOSTON AND MAINE CORPORATION, and          )
SPRINGFIELD TERMINAL RAILWAY               )
COMPANY                                    )
                                           )
                  Defendants.              )
__________________________________________)


   CORPORATE DISCLOSURE STATEMENTS OF PAN AM RAILWAYS, INC.,
 BOSTON AND MAINE CORPORATION and SPRINGFIELD TERMINAL RAILWAY
                          COMPANY


        Pursuant to Rule 7.5(a) of the local Rules of the United States District Court for the

District of New Hampshire, Defendants Pan Am Railways, Inc., Boston and Maine Corporation

and Springfield Terminal Railway Company provides the following information:

A.      PAN AM RAILWAYS, INC.

        1.     Parent Corporations. Pan Am Railways, Inc. is a wholly owned subsidiary of

Pan Am Systems, Inc.

        2.     Publicly Held Companies Owning Ten Percent (10%) or More of Stock.

None.

        3.     Merger Agreements. Pan Am Railways, Inc. is not a party to any merger

agreements with publicly held corporations at this time.
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B.        BOSTON AND MAINE CORPORATION

          1.   Parent Corporations. Boston and Maine Corporation is a wholly owned

subsidiary of Pan Am Railways, Inc.

          2.   Publicly Held Companies Owning Ten Percent (10%) or More of Stock.

None.

          3.   Merger Agreements. Boston and Maine Corporation is not a party to any merger

agreements with publicly held corporations at this time.

C.        SPRINGFIELD TERMINAL RAILWAY COMPANY

          1.   Parent Corporations. Springfield Terminal Railway Company is a wholly

owned subsidiary of Pan Am Railways, Inc.

          2.   Publicly Held Companies Owning Ten Percent (10%) or More of Stock.

None.

          3.   Merger Agreements. Springfield Terminal Railway Company is not a party to

any merger agreements with publicly held corporations at this time.

                                             Respectfully submitted,

                                             PAN AM RAILWAYS, INC.,
                                             BOSTON AND MAINE CORPORATION, and
                                             SPRINGFIELD TERMINAL COMPANY

                                             By their attorneys,

Dated: July 6, 2010                               /s/ Christopher H.M. Carter
                                             Christopher H.M. Carter (#12452)
                                             James P. Ball (#19209)
                                             Hinckley, Allen & Snyder LLP
                                             11 South Main Street, Suite 400
                                             Concord, NH 03301-4810
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                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a copy of the foregoing to be served by first class mail upon
Craig S. Donais, Esq., Donais Law Offices PLLC, 15A High Street, P.O. Box 1778, Manchester
NH 03105-1778.


                                               /s/ James P. Ball
                                              James P. Ball




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